      Case 8-19-73115-reg             Doc 29       Filed 04/29/19        Entered 04/29/19 16:37:22




 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
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 In re:                                                              Chapter 11

 BAY TERRACE PLAZA, LLC                                              Case No.: 19-41616 (ESS)
 D/B/A ALLORA D/B/A
 ALLORA ITALIAN KITCHEN & BAR,
 D/B/A ALLORA ITALIAN KITCHEN AND BAR,

                   Debtor.
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       Disbursement Report for the period of March 21, 2019 through March 31, 2019


                 Disbursements:                              $65,995.03


        The undersigned, having reviewed the attached report and being familiar with the Debtor’s
financial affairs, verifies under the penalty of perjury, that the information contained herein is
complete, accurate and truthful to the best of my knowledge.

Date: April 29, 2019

                                                                 s/ Steve Menexas
                                                                 Steve Menexas
                                                                 Managing Member of the Debtor
